Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 1 of 10

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
FLORIDA PANAMA CITY DIVISION

CIVIL RIGHTS COMPLAINT FORM

TO BE USED BY PRO SE (NON-PRISONER) LITIGANTS iN ACTIONS
UNDER 28 U.S.C. 1331 or 1346 OR 42 U.S.C. 1983

David Lee Jones, Pro Se:

(Enter full name of Plaintiff(s) CASE NO: Bot La, U Is-RY (

Gordon R. England, The Secretary of the Navy; :
Victor Jimenez, Commanding Officer, NSWC-PC: (To be assigned by Clerk)
Irma Burden, NSWC-PC, Deputy EEO Officer:

Scott Dorsch, Former Brach Head, Code A84-

John Auzins, Division Head, Code A84-

John Brady, Former Branch Head, Code A84:

Paul Pettofrezzo, Division Head, Code A84:

J. Marc Eddie, Temporary Branch Head, Code A84:

Dan Crute, Division Head, Code A84;

Rebecca Ferris, Acting Branch Head, Code A84.

Tom Seldenright, Acting Branch Head, Code A84;

Clint Mayo, Manager;

Steve Segrest, Department Head, Code A84; and

Richard Fowler, Human Resources Officer.

(Enter name and title of each Defendant. If additional space is required, use the
blank area beiow and directly to the right.)

we

ANSWER ALL QUESTIONS ON THE FOLLOWING PAGES: | A OYE
OL DEC -7 AME: 48

FILED
Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 2 of 10

1. PLAINTIFF:
State your full name and full mailing address in the lines below.

Name of Plaintiff: David Lee Jones

Mailing address: 717 Williams Avenue, Panama City, FL 32401

il. DEFENDANT(S):
State the name of the Defendant in the first line, official position in the second line, place of
employment in the third line, and mailing address. Do the same for every Defendant:

(1) Defendant's name: Gordon R. England
Official position: The Secretary of the Navy
Employed at: The Pentagon
Mailing address: Washington, DC 20350-1000

(2) Defendant's name: Captain Victor Jimenez
Official position: | Commanding Officer
Employed at: Naval Surface Warfare Center-Panama City
Mailing address: 110 Vernon Avenue
Panama City, FL 32407-7001

(3) Defendant's name: Irma Burcen
Official position: | Deputy Equal Employment Opportunity Officer
Employed at: Naval Surface Warfare Center-Panama City
Mailing address: 110 Vernon Avenue
Panama City, FL 32407-7001

(4) Defendant's name: Scott Dorsch
Official position: | Former Branch Head
Employed at: Naval Surface Warfare Center-Panama City
Mailing address: 110 Vernon Avenue

Panama city, FL 32407-7001

ATTACH ADDITIONAL PAGES HERE TO NAME ADDITIONAL DEFENDANTS

2

(9)

ll. DEFENDANTS(S):

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 3 of 10

DEFENDANTS (S): CONTINUATION PAGE 2

Defendant's Name: John Auzins

Offical position:
Employed at :
Mailing address:

Division Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Defendant's Name: John Brady

Official position:
Employed at:
Mailing address;

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Former Branch Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Paul Pettofrezzo

Division Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Dan Crute

Division Head, Code A84

Naval Surface Warfare Center-Panama City
410 Vernon Avenue

Panama City, FL 32407-7001

Rebecca Ferris

Acting Branch Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Tom Seldenright

Acting Branch Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

2A

CONTINUATION PAGE 2B
(11)

(12)

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 4 of 10

Defendant's Name:

Offical position:
Employed at:
Mailing adcress:

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Defendant's Name:

Offical position:
Employed at:
Mailing address:

Clint Mayo

Manager

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Steve Segrest

Department Head, Code A84

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

Richard Fowler

Human Resources Officer

Naval Surface Warfare Center-Panama City
110 Vernon Avenue

Panama City, FL 32407-7001

2B
itl.

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 5 of 10

STATEMENT OF FACTS:
State briefly the FACTS of this case. Describe how each Defendant was involved and

what each person did or did not do which gives rise to your claim, in describing what
happened, state the names of persons involved, dates, and places. Do not make any legal
arguments or cite to any cases or statutes. You must set forth separate factual allegations in

separately numbered paragraphs. You may make copies of this page if necessary to supply
all the facts. Barring extraordinary circumstances, no more than five (5) additional pages
should be attached. (if there are facts which are not related to this same basic incident
or issue, they must be addressed in a separate civil rights complaint.)

1.

Plaintiff, David Lee Jones brings this action to redress injury done to Plaintiff by
the defendant's for intentional discriminatory, disparate treatment _on the basis of
retaliation against Plaintiff for filing a charge of discrimination of his Civil rights.
Plaintiffs request this court to take jurisdiction over this action because venue of
this action is properly placed and because all claims arose in this district.

Plaintiff David L. Jones is an African American male citizen of the United States
and a resident of Panama City, Bay County, Florida. Plaintiff belongs to a
protected class.

At all times during which the acts that are the subject of this litigation took place,
David L. Jones was an employee of defendant, the Navy. The Navy was plaintiff
David L. Jones sole employer within the meaning of this complaint.

Plaintiff David L. Jones is an African American male citizen of the United States
and a resident of Panama City, Bay County, Florida. The Plaintiff belongs to a
protected class and has satisfied all conditions precedent to bringing a lawsuit
and has exhausted all administrative remedies required by seeking EEO
counseling for his Initial Contact with an Navy EEO Counselor on March 8, 2002:
date of Initial Interview was March 12, 2002: date of Final interview March 16,
2002; date of Formal Complaint filed and receive by the Navy was March 17,
2002: date Navy requested an EEO Complaint Investigation was May 2, 2002.
Plaintiff Jones requested that the Navy Deputy EEO Officer Irma Burden to
accept plaintiff's timely filed for investigation his "Like or Related Issue Claims for
Investigation on July 18, 2002. Ms. Irma Burden, Navy Deputy EEO Officer has
not responded to plaintiffs request to this date.

Plaintiff requested to have his current Performance Evaluation be added as an
issue before the DOD CPMS/OCI, Atlanta Regional Office investigator in the form
of Reprisal and Retaliation in promotions from July 20, 1071 to the present. See
EEO Counselors Report.

. Ms. Irma Burden also had before her for approval an issue of Disparity in

Treatment in Quality Salary Increases (QSI) from July 20, 1971 to the present.
Ms. Irma Burden did not grant a timely filed issue of official Training, which she
did not grant as an issue.

Ms. Irma Burden also denied plaintiff the right add Sex (male) and denial of Job

3
Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 6 of 10

Assignments as and issue when plaintiff Jones compares himself with
other similarly situated male and female co-workers in the Electronic Technician
career field.

10.Ms. Irma Burden, Deputy EEO Officer was also requested in plaintiffs "Request

for Like or Related Issues Claims' letter dated July 18, 2002 to authorized the
DOD-COPMS/OCI, EEO investigator to review any violations of the Navy's
Promotion and Internal Placement of the Office of Personnel Management rules
and regulations. This should have been done all GS-09 thur Gs-12 Electronic
Technicians Training and Promotions Patterns.

11.Ms. Burden denied the plaintiff to amend his complaint to include the issue of
hostile working environment.

12. Plaintiff requested Ms. Irma Burden to contact Mr. Richard Fowler, Human
Resources Officer to see if his office made any errors in assigning Promotions
And Quality Salary Increases.

13. The last issue that plaintiff Jones requested of the Navy Deputy EEO Officer was
Navy Credibility on July 18, 2002. All of Plaintiff's requests were denied.
Therefore, Ms Irma Burden, Deputy EEO Officer denied the plaintiff fifty percent
Of his formal EEO Complaint.

14. DOD-CPMS/OCI issued their Findings in the plaintiffs Complaint against the
Navy_on September 27, 2002.

15. Plaintiff received a copy of the Investigative File (ROI) on October 8, 2002 and
requested an EEOC Miami District Office for a Formal Hearing on November 6,
2002. The Commission issued an Acknowledgement on December 10, 2002.

16. The Miami EEOC District Office Administrative Judge of Record stated during the
olaintiff's June 25, 2003, Prehearing Telephonic Conference Call that she was
going to issue a Findings and Conclusion Without a Hearing (Summary
Judgment) without a hearing any of the plaintiffs objections. No issues were
approved, no witnesses approved or disapproved over the plaintiffs objections.
The Navy representative stated that the plaintiff does not need any witnesses
approved. The Administrative Judge set July 2, 2003 to respond to her Order.
The appellant instructed his representative to issue on June 30, 2003 to issue a
withdrawal and request for a Navy Final Decision. On July 2, 2004 the plaintiff
submitted his response to the Administrative Judge's proposed "Findings and
Conclusion Without a Hearing". The plaintiff believed that the EEOC
Administrative Judge Joy R. Helprin and the Navy representative Attorney Steve
Conway have conspired against me because he filed a formal EEOC Complaint.

17. On July 1, 2003 the EEOC Miami District Office Administrative Judge issued the
plaintiff's request for withdrawal and forwarded decision to the Navy Yard.
Washington, D.C., for the Navy's Final Decision.

18. The Navy new as in passed EEOC Appeals when they received a decision from
and EEOC Administrative they have only have 40 days to respond to the EEOC

3A
19.

20.

21.

22.

23.

24.

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 7 of 10

by regulations. The plaintiff did not receive a response within 40 days from the
Navy. Some 153 day later the plaintiff still had not received the Navy's Final
Decision.

The plaintiff had to request the assistance of the EEOC/OFO, Inspector
General's Office on December 31, 2003. The Appellant requested a" Chain of
Custody Investigation as to why the Navy has not responded to their EEOC
Administrative Judges Order Effective July 2, 2003 for a “Final Agency Decision”.
It took the Navy over (8) months to issue their final decision, approximately 225
days and the EEOC did not sanction the Navy for their 245 day Untimely Final
Agency Decision.

The EEOC/OFO issued a Commissioned final decision dated July 7, 2004,
received July 10, 2004. The plaintiff issued a response for Enbanc Decision on

their Reconsideration from the Entire Commissioner as they have issued
hundred of Commission Highlights Decisions in the past.

It is common knowledge that the EEOC has ruled against the Navy when they
did not respond to an EEOC Administrative Judges Order concerning damages
and 12 Navy electronic technicians’ employees were entitled to benefits for
overtime.

This Naval installation has gone through some command and name changes
since his employment with this installation since 1971. The plaintiff wiil now list
the installation name and command changes for the New Commanding Officer's
assumptions of Command by Captain Victor Jimenez, NSWC-PC. (a) Naval
ship Research and Development Laboratory from November 1968, until
February 1972. The installation name changes to Naval Coastal Systems
Laboratory, which took place in February 1972 until March 1978. The Navy
submitted another name change to Coastal Systems Center, which took place
during March 1978 until January 1992. The Navy submitted another name

change to Coastal Systems Station took place January 1992 until May 2004 and
current new name is the Naval Surface Warfare Center-Panama Center
(NSWC-PC) May 2004 to the present. Ali intentional discriminatory employment
acts that were related and act of omissions which the New Commanaing Officer
Victor Jimenez assumed alt of the responsibility of the Navy past commanders.
This meets the Court requirements to explain how each of the proposed
defendant giscriminated against the plaintiff. The Commander is responsible for
the act of the Navy's Officers, Supervisors, Managers and employees under the
Assumption of Command.

Plaintiff Jones contacted Division Head John Auzin, second level

Supervisor and questioned him as to wny he cid not recommend plaintiff for
Promotion to the GS-12 Electronic Technician grade level? Mr. Auzin

instructed the plaintiff to seek Navy EEO Counseling if plaintiff wanted a
Response. Mr. Auzin is aware that there are no African Americans male or
Technical employees with degrees in their fields, knowledge, skills, abilities,

and with experience. Mr, Auzin and ail of piaintiff alleged defendant new or
should have known that the plaintiff was a Lead Technician effected 1/1992.
3B

25.

26.

27.

28.

29.

30.

31.

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 8 of 10

The plaintiff and African American male employee has been denied the proper

iob assignments: entittement to overtime which has been denied since 1999:

promotion to GS-12, while the Navy is allowing other white male and female

employees with less experience and training at the time of their promotions to go

ahead of the plaintiff, when he was_the Lead Technician of which he was
rewarded with an instant promotion To the GS-09, Electronic Technician for his
work he preformed and his team he gave directions to these Electronic
Technicians.

On or about February 27, 2004 another African American male Technician
Requested that the plaintiff testify on his behalf. The plaintiff states that he
testified for about three hours. Plaintiff only questions the EEOC Administrative
findings based upon what he testified to at the hearing.

On June 25, 1999 the plaintiff was apart of a Federal Labor Relations Authority
(FLRA) appeal for overtime. There was a settlement to this appeal. There are
some issues as to why the plaintiff has not received any electronic technician
job assignments since October 13, 1999. At this rate a court official needs to
review all aspects of this settlement that has left the plaintiff of any overtime and
job assignments.

The plaintiff believes that he has a claim of years of unscheduled overtime while
allowing other white technicians overtime and constant promotions. The plaintiff
believes that he has a claim of intentional discrimination in overtime aione in the
amount of approximately $125.000.00 in overtime lost to the Navy supervisors
denial of job assignments that carries overtime is intentional discrimination over
the years.

On September 9, 2004, U. S. Post Mark, the EEOC issued their Final Order and
Right to Sue Letter to the plaintiff wnich he received on September 13, 2004.
The following management officials denied the plaintiff overtime, promotions,
training, electronic technician job assignments, hostile work environment for a
long period of time, bonuses, and FMSC settlement agreement violations: Scott
Dorsch. John Auzins, John Brady: Paul Pettofrezzo: J. Marc Eddie: Dan Crute:
Rebecca Ferris: Tom Seldenright: Clint Mayo and Steve Segrest. Richard
Fowler is responsible for requiring the plaintiff to have an Desk Audit knowing
that the plaintiff has not been assianed any type of electronic technician work to
be graded on. Plaintiff position is that Mark McCant, GS-12, Electronic
Technician, Code A84. Mr. Richard Fowler, Human Resources Officer new the
Plaintiff worked with is co-worker side by side for over 10 years performing GS-
12 work. Therefore the plaintiff feels that the amount of work should have
qualified the plaintiff for the GS 12, promotion and no need for a desk audit.

As a result of the Navy's actions, plaintiffs David L. Jones has been forced to
seek an attorney to protect his rights and is required to pay him reasonable fees.

3C
Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 9 of 10

STATEMENT OF CLAIMS:

State what rights under the constitution, laws, or treaties of the United States you

claim have been violated. Be specific. Number each separate claims and relate it to the facts
alleged in Section lll. If claims are not related to the same basic incident or issue, they
must be addressed in a separate civil rights complaint.

1.

The plaintiff stated in section Ill that the Navy has intentionally discriminated and
violated Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et
seq. , and 42 U.S.C. 2002et seq. The plaintiff cites his initial claim to this District
Court and the entire appeal case file held by the EEOC.
This court has jurisdiction over this action under 42 U.S.C.2000e-5 (f) and 28
U.S.C. 1331 and 1333 (3) & (4).
Public Law 105-261, 5 U.S.C. Chapter 5596, The Back Pay Act. When the Navy
denied the plaintiff to be scheduled overtime inaccordance with The Federal
Labor Relations Authority Grievance (FLRA) (FMSC File No. 98-05949 between
the U.S. Navy, Coastal Systems Station and the American Federation of
Government Employees, Local No. 1380. Here the union agreement states that
overtime will be given out equally to all (65) technicians.
The Navy is in violation of McDonnel! Dougias Corp. v. Green, 411 U.S. 792, 5
FEP Cases 965 (1973). ls used to establish "Similarly Situated” and hostile work
environment.
The Navy received a copy of the EEOC Notice to the Parties July 1, 2003, Notice
that the Navy had forty (40) days of receiving this decision and hearing record,
they were required to issue a final order notifying the complaint whether or not the
Navy will fully implement this decision or issue a Final Agency Decision. The
Navy did not issue a notice of appeal rights within the forty- (40) day time limit.
The plaintiff then issued a request to the EEOC/OFO/IG of a "Chain of Custody
investigation from the EEOC" Miami District Office on why the Navy has
not_responded to the Administrative Judge's Order effective July 2, 2003, U.S.
Post Mark. The plaintiff submitted his request for a Chain of Custody on
December 31, 2003. The Navy did not respond until March 9, 2003. The Navy
was in violation for one hundred fifty (150) days then after and appeal to the
EEOC/OEFO another ninety-two (92) days went by therefore a total 242 days had
past after the normal EEOC five day allowed for a letter to arrived. The Navy is in
violation of the Administrative Judge's Order/Decision (see: 29 CFR 1614.110(a).
If the Agency (Navy) fails to carry out the Judges order ina timely manner, then
the plaintiff deemed that his request for maximum amount of $300,000.00 for non-
pecuniary compensatory should be granted. Case in Point see: Gay v.
Department of Defense, Department of the Navy, 103 LRP 48500 (EEOC
10/09/03) plus attorney's. This was the amount paid out by order of the EEOC for
being untimely responding to the plaintiff.

4

Case 5:04-cv-00415-RS-WCS Document1 Filed 12/07/04 Page 10 of 10

6. The plaintiff has requested back pay for denial of overtime In The United States
Court of Federal! Claims, Allan E. Alves, ET AL, Plaintiffs, v. The United States.
Defendant. No. 90-478C (Judge Bruggink) the Navy paid out $200,000.00 to 12
Navy electronic technicians inaccordance to the benefits under the Fair Labor
Standards Act (FLSA).

V. RELIEF REQUESTED:

State briefly what relief you seek from the court. De not make legal arguments or cite to
cases/ statutes.

Wherefore, Plaintiff David L. Jones, respectfully prays for judgement of
compensatory damages against Defendant, Gordon L. England, Secretary of the
Department of the Navy, for an including compensation, back pay, mental suffering,
pain and anguish, loss of sleep, humiliation, loss of enjoyment of life and attorney
fees and other such relief as the Court may deem just and equitable. Plaintiff
demands a trial by jury on all issues raised by the Complaint.

The Plaintiff request this Court to Grant a 45-day extension of time for the
Plaintiff in order for the Plaintiff proposed attorney can review the five (5) pounds of
case files and materials. Plaintiff proposed attorney instructed him that he should file
this appeal pro se, with the Clerk of the Federal Court. Plaintiff proposed attorney
stated that he has an obligation to his current clients, but he has agreed to discuss
the merits and conditions of representation to determine that | have a meritorious
case. If this Court approves this request then Plaintiff proposed attorney will file a
notice of appearance and after going over all of Plaintiff documentation and evidence
he will file an Amended Complaint. Plaintiff request U. S. District Court Rules 6.1
and Rule 7.1(A) be granted for Plaintiff proposed attorney Notice of Appearance.

Plaintiff request the Court guard against Navy witnesses lying under oath. Allow the
Plaintiff to present Discrete Acts of Intentional Discrimination and therefore support
Plaintiff claim for Continuing Violation charges. Request the Court to take Judicial
Notice for Plaintiff's “Request for a Chain of Custody" to the Navy's actions.

| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING STATEMENTS OF FACT,
INCLUDING ALL CONTINUATION PAGES, ARE TRUE AND CORRECT.

f2-02- O¢ Li Zhe

(Date) "(Signature of Plaintiff)

Revised 07 /02 4A
